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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

                                                               Case No.:             S 'kT4S-A&I 1 h
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                Debtor(s)

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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

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Bank of America
ANGELICA DENISE JACKSON I Account                   6180 I October 25, 2017 to November 22, 2017

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Deposits and other additions
Date           Description                                                                                                               Amount

11/06/17       Counter Credit                                                                                                          1,514.00

11/20/17       BKOFAMERICA ATM 11/20 #000009353 DEPOSIT CONYERS SOUTHSID CONYERS                         GA                              253.00

11/20/17       Counter Credit                                                                                                            100.00

Total deposits and other additions                                                                                                  $1,867.00




Withdrawals and other subtractions

ATM and debit card subtractions

Date           Description                                                                                                               Amount

11/21/17       KROGER           11/21 #000503323 PURCHASE 3700 SALEM RD.           COVINGTON       GA                                    -15.58

11/22/17       WAL-MART #2475 11/22 #000115700 PURCHASE 1436 DOGWOOD DRIV CONYERS                          GA                            -31.57

Total ATM and debit card subtractions                                                                                                 -$47.15



Other subtractions
Date           Description                                                                                                               Amount
                                                                                                                                          _
,11/07/17      Nationstar Mortgage Bill Payment                                                                                       -1,400.00
                                                                                                                                           .    —
Total other subtractions                                                                                                           -$1,400.00




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                                                                                4 of 3822, 2017


Service fees
  Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.


                                              Total for this period              Total year-to-date

  Total Overdraft fees                               $0.00                            $70.00

  Total NSF: Returned Item fees                      $0.00                             $0.00

  To help avoid overdraft and returned item fees, you can set up:
       Customized alerts — get email or text message alerts (footnote 1) to let you know if your balance is low
       Overdraft Protection — enroll to help protect yourself from overdrafts and declined transactions
  To enroll, go to bankofamerica.com/online, call us at the number listed on this statement, or come see us at your nearest financial
  center.
  (footnote 1) Alerts received as text messages on your mobile access device may incur a charge from your mobile access service
  provider. This feature is not available on the Mobile website. Wireless carrier fees may apply.


Date          Transaction description                                                                                                     Amount

11/22/17       Monthly Maintenance Fee                                                                                                    -12.00

Total service fees                                                                                                                      -$1 2.00

Note your Ending Balance already reflects the subtraction of Service Fees.




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BankofAmerica
ANGELICA DENISE JACKSON         I Account #4/4/11,10 6180        I   September 23, 2017 to October 24, 2017




Deposits and other additions
Date           Description                                                                                                                       Amount

09/25/17       Counter Credit                                                                                                                  1,375.00

Total deposits and other additions                                                                                                         $1,375.00




Withdrawals and other subtractions

Other subtractions
Date            Description                                                                                                                      Amount

09/26/17        Nationstar Mortgage Bill Payment                                                                                              -1,400.00 7

Total other subtractions                                                                                                                  -$1,400-.00




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                                                          I September 23,      6 October
                                                                          2017 to of 38 24, 2017


Service fees
  Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.


                                              Total for this period              Total year-to-date

  Total Overdraft fees                              $70.00                            $70.00

  Total NSF: Returned Item fees                      $0.00                             $0.00

  To help avoid overdraft and returned item fees, you can set up:
       Customized alerts - get email or text message alerts (footnote 1) to let you know if your balance is low
       Overdraft Protection - enroll to help protect yourself from overdrafts and declined transactions
  To enroll, go to bankofarnerica.com/online, call us at the number listed on this statement, or come see us at your nearest financial
  center.
  (footnote 1) Alerts received as text messages on your mobile access device may incur a charge from your mobile access service
  provider. This feature is not available on the Mobile website. Wireless carrier fees may apply.


Date          Transaction description                                                                                                     Amount

09/26/17      OVERDRAFT ITEM FEE FOR ACTIVITY OF 09-26                                                                                    -35.00

10/03/17       Extended Overdrawn Balance Charge                                                                                          -35.00

10/24/17       Monthly Maintenance Fee                                                                                                    -12.00

Total service fees                                                                                                                       -$82.00

Note your Ending Balance already reflects the subtraction of Service Fees.




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  Bankof America
  ANGELICA DENISE JACKSON I Account # 440M              80 I August 25, 2017t0 September 22, 2017

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  Deposits and other additions
  Date          Description                                                                                                             Amount

  09/05/17      BKOFAMERICA ATM 09/05 #000003330 DEPOSIT CONYERS SOUTHSID CONYERS                        GA                             560.00

  09/05/17      BKOFAMERICA ATM 09/05 #000003570 DEPOSIT CONYERS SOUTHSID CONYERS                        GA                                60.00

  Total deposits and other additions                                                                                                 $620.00




  Withdrawals and other subtractions

  ATM and debit card subtractions

  Date           Description                                                .                                                           Amount

C, 09/06/17     CHECKCARD 0905 CAPITALONE AUTO 800-946-0332 TX 05123487248300182874483                                                 -600.00'
                                                                                                                             _
  Total ATM and debit card subtractions                                                                                             -$60.00




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Service fees                                                                                44

Date          Transaction description                                                                        Amount

09/22/17      Monthly Maintenance Fee                                                                        -12.00

Total service fees                                                                                         -$12.00

Note your Ending Balance already reflects the subtraction of Service Fees.




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Bank of America
ANGELICA DENISE JACKSON I Account #411/1111111111 6180 I July 25, 2017 to August 24, 2017

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 Deposits and other additions
 Date          Description                                                                                                             Amount

 07/31/17      Counter Credit                                                                                                          682.50

 07/31/17      BKOFAMERICA ATM 07/29 #000002981 DEPOSIT CONYERS SOUTHSID CONYERS                        GA                                65.30

 08/15/17      BKOFAMERICA ATM 08/15 #000002293 DEPOSIT CONYERS SOUTHSID CONYERS                        GA                           1,300.00

 08/17/17      BKOFAMERICA ATM 08/17 #000003199 DEPOSIT CONYERS SOUTHSID CONYERS                        GA                                65.00

 Total deposits and other additions                                                                                               $2,112.80




 Withdrawals and other subtractions

 ATM and debit card subtractions

 Date          Description                                                                                                             Amount

 07/31/17      WM SUPERCENTER 07/31 #000631842 PURCHASE 1A(ah-Mart-Super
                                                         -
                                                                         6 'COISIVERS                                                   -58.76
                                                    - -     r


ctraznDARD
         ICCKC                ___Q_731 CAPITAL ONE AUTO 800-946-0332 TX 05123487212300181001874                                       -600.00)
„
 08/02/17      WM SUPERCENTER 08/02 #000046165 PURCHASE Wal-Mart Super Ce CONYERS                      GA                               :15:88

 08/02/17      OFFICE DE 1410 08/02 #000822593 PURCHASE OFFICE DE 1410 DO CONYERS                     GA                                  -7.48

 08/04/17       DOLLAR-GENERAL 08/04 #000008217 PURCHASE 1265 IRIS DR SE               CONYERS       GA                                   -9.47

 08/07/17       DOLLAR-GENERAL 08/05 #000008917 PURCHASE 1265 IRIS DR SE               CONYERS       GA                                   -5.35

 Total ATM and debit card subtractions                                                                                             -$696.94



 Other subtractions
 Date           Description                                                                                                            Amount

 08/17/17       Nationstar Mortgage Bill Payment                                                                                     -1,400.00

 Total other subtractions                                                                                                        -$1,400.00




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Service fees
Date          Transaction description                                                                        Amount

08/24/17      Monthly Maintenance Fee                                                                         -12.00

Total service fees                                                                                         -$12.00

Note your Ending Balance already reflects the subtraction of Service Fees.




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  ANGELICA DENISE JACKSON I Account #100.1.16180 I May 24, 2017 to June 23, 2017

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           enrolled in a high school, college, university or vocational program. Call 800.869.0585 or visit bankofamerica.com/forstudents to open
           an account today.




   Deposits and other additions
   Date               Description                                                                                                             Amount

   05/24/17           Counter Credit                                                                                                        1,770.00

   06/01/17           BKOFAMERICA ATM 06/01 #000009858 DEPOSIT CONYERS SOUTHSID CONYERS                     GA                                638.00

   06/19/17           BKOFAMERICA ATM 06/19 #000009879 DEPOSIT CONYERS SOUTHSID CONYERS                     GA                                110.00

   06/21/17           BKOFAMERICA ATM 06/21 #000002220 DEPOSIT CONYERS SOUTHSID CONYERS                     GA                                504.00

   Total deposits and other additions                                                                                                  $3,022.00



   Withdrawals and other subtractions

   ATM and debit card subtractions
   Date               Description                                                                                                             Amount

   06/01/17           DOLLAR-GENERAL 06/01 #000042503 PURCHASE 1265 IRIS DR SE            CONYERS       GA

  06/02/17            CHECKCARD 0601 KFC G135070 CONYERS           GA 55310207153400524000111
   • ...
,C26_/05/17           CHECKCARD 0602 CAPITAL ONE: -.61)TQ 800-946:0j32 TX (E)123487153k01§1649‘762
         ,„ .• • -,     -----  '-
  06/19/17            SCANA Energy 06/19 #000582309 PURCHASE SCANA Energy/Bill Columbia     SC                                                 -78.50

   06/19/17           Wal-Mart Super 06/19 #000578366 PURCHASE 2475 WAL-SAMS            CONYERS        GA                                      -11.35

   06/21/17           CHECKCARD 0620 QT 802        070 CONYERS       GA 15410197171993002746712                                                -15.01

   06/21/17           Wal-Mart Super 06/21 #000127012 PURCHASE 2475 WAL-SAMS            CONYERS        GA                                      -31.91

   06/22/17           CHECKCARD 0622 CCO*CHARTER COMMU 888-438-2427 MO 55432867173100987456442                                               -226.54

   06/23/17           CHECKCARD 0622 KROGER FUEL #1621 COVINGTON            GA 05436847173300093878504                                         -15.07
                                                                                                                               continued on the next page




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Withdrawals and other subtractions - continued

ATM and debit card subtractions - continued
Date          Description                                                                                            Amount

06/23/17      CHECKCARD 0622 METROPCS MOBILE W 888-863-8768 WA 55432867173100382615543                               -50.00

06/23/17      CHECKCARD 0622 DQ BOTHRAZ #10684 CONYERS                   GA 55263527174286000000128                  -12.84

Total ATM and debit card subtractions                                                                           -$1,053.90



Other subtractions
Date          Description                                                                                            Amount

05/24/17      WIRE TYPE:WIRE OUT DATE:170524 TIME:1102 ETTRN:2017052400238717 SERVICE                             -13,280.00
              REF:005655 BNF:NATIONSTAR MORTGAGE ID:4059000061933029 BNF BK:WELLS FARGO BANK,
              N.A. ID:121000248 PMT DET:JS2GS6LT6 Ref Sajid Clark

06/07/17      Phone transfer to CHK 9747 Confirmation# 2384326205                                                         -5.00

Total other subtractions                                                                                       -$13,285.00




Service fees
Date          Transaction description                                                                                 Amount

05/24/17      Wire Transfer Fee                                                                                       -30.00

06/23/17      Monthly Maintenance Fee                                                                                 -12.00

Total service fees                                                                                                  -$42.00

Note your Ending Balance already reflects the subtraction of Service Fees.




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Withdrawals and other subtractions - continued

ATM and debit card subtractions - continued
Date          Description                                                                                               Amount

04/12/17      CHECKCARD 0411 KROGER FUEL #1621 COVINGTON                     GA 05436847101300093111325                 -25.10

04/12/17      CHECKCARD 0411 EL NORTENO FAMILY 214-366-3222 GA 55432867102000542077533                                  -46.99

04/12/17      CHECKCARD 0411 WENDYS #50 CONYERS                 GA 05436847102500101831975                              -12.62

04/13/17      CHECKCARD 0412 KROGER FUEL #1621 COVINGTON                     GA 05436847102300094732052                 -20.00

04/17/17      CHECKCARD 0414 KROGER FUEL #1621 COVINGTON                     GA 05436847104300101529135                 -30.03

Total ATM and debit card subtractions                                                                            -$1,767.65



Other subtractions
Date          Description                                                                                               Amount

03/30/17      Customer Withdrawal Image                                                                               -8,400.00

Total other subtractions                ç                                                                        -$8,409,0


                                              s.                    14 p      6(N0




Service fees
Date          Transaction description                                                                                   Amount

04/21/17       Monthly Maintenance Fee                                                                                   -12.00

Total service fees                                                                                                    -$12.00

Note your Ending Balance already reflects the subtraction of Service Fees.




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Bankof America
ANGELICA DENISE JACKSON I Account #                           J6180        March 25, 2017 to April 21, 2017




Deposits and other additions
Date           Description                                                                                                                                                         Amount

03/29/17       BKOFAMERICA ATM 03/29 #000008689 DEPOSIT CONYERS SOUTHSID CONYERS                                                    GA                                         1,436.00

04/04/17       BKOFAMERICA ATM 04/04 #000002119 DEPOSIT CONYERS SOUTHSID CONYERS                                                    GA                                             358.00

04/06/17       BKOFAMERICA ATM 04/06 #000002825 DEPOSIT CONYERS SOUTHSID CONYERS                                                    GA                                             198.00

Total deposits and other additions                                                                                                                                       $1,992.00




Withdrawals and other subtractions

ATM and debit card subtractions
Date           Description                                                                                                                                                         Amount

03/27/17       CHECKCARD 0324 CAPITAL ONE AUTO 800-946-0332 TX 05123487083300170484376                                                                                             -618.00

03/27/17       CHECKCARD 0325 CCO*CHARTER COMMU 888-438-2427 MO 55432867084000374204835                                                                                            -192.15

03/28/17       CHECKCARD 0327 CAPRICHO INC. NORCORSS                              GA 55432867087000255871774                                                                       -104.00

03/28/17       CHECKCARD 0327 DIANA ZAPATERIA G 770-638-8806 GA 55432867087000186558714                                                                                            -313.50

03/28/17       OFFICE DE 1410 03/28 #000216162 PURCHASE OFFICE DE 1410 DO CONYERS                                                 GA                                                -25.65

03/28/17       Wal-Mart Super 03/28 #000068360 PURCHASE 2475 WAL-SAMS                                      CONYERS            GA                                                     -6.68

04/05/17       ROPA MODA LAMA 04/05 #000216354 PURCHASE 4316 PARK DR                                          NORCROSS              GA                                             -146.00

04/05/17       Wal-Mart Super 04/05 #000522623 PURCHASE 4558 WAL-SAMS                                      COVINGTON            GA                                                   -6.39

04/06/17       CHECKCARD 0405 CAPRICHO INC. NORCORSS                              GA 55432867096000918306530                                                                        -34.00

04/06/17       CHECKCARD 0405 DIANA ZAPATERIA G 770-638-8806 GA 55432867096000853673712                                                                                             -37.50

04/07/17       CHECKCARD 0406 KROGER FUEL #1621 COVINGTON                                  GA 05436847096300088834466                                                               -35.00

04/10/17       KROGER              04/10 #000502327 PURCHASE 3700 SALEM RD.                             COVINGTON            GA                                                      -2.13

04/11/17       CHECKCARD 0410 SNAPPING SHOALS E 07707863484 GA 55263527100747006684842                                                                                              -84.00

04/11/17       Wal-Mart Super 04/11 #000134701 PURCHASE 2475 WAL-SAMS                                       CONYERS            GA                                                    -6.89

04/11/17        KROGER             04/11 #000503799 PURCHASE 3700 SALEM RD.                             COVINGTON            GA                                                     -21.02
                                                                                                                                                              continued on the next poge




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I   Bank of America
    ANGELICA DENISE JACKSON I Account # WINNE, 6180 I March 24, 2018 to April 23, 2018




    Deposits and other additions
    Date             Description                                                                                                                                                         Amount

    03/26/18         BKOFAMERICA ATM 03/26 #000006242 DEPOSIT CONYERS SOUTHSID CONYERS                                                         GA                                      1,820.00

    03/26/18         BKOFAMERICA ATM 03/26 #000002291 DEPOSIT CONYERS SOUTHSID CONYERS                                                         GA                                        900.00

    03/26/18         Counter Credit                                                                                                                                                           65.50

    03/27/18         Counter Credit                                                                                                                                                    1,142.00

    04/02/18         BKOFAMERICA ATM 04/02 #000009916 DEPOSIT CONYERS SOUTHSID CONYERS                                                          GA                                       248.00

    04/06/18         BKOFAMERICA ATM 04/06 #000003228 DEPOSIT CONYERS SOUTHSID CONYERS                                                          GA                                       379.00

    04/12/18         PAYPAL      DES:TRANSFER                     ID:5RQ22AFKV7SG4 INDN:ANGELICA JACKSON                                  CO                                                  15.00
                     ID:PAYPALSD11 PPD

    04/16/18         BKOFAMERICA ATM 04/16 #000008331 DEPOSIT CONYERS SOUTHSID CONYERS                                                          GA                                       600.00

    Total deposits and other additions                                                                                                                                             $5,169.50



    Withdrawals and other subtractions

    ATM and debit card subtractions
    Date             Description                                                                                                                                                          Amount

    03/26/18         CHECKCARD 0325 SHELL OIL 5754237 CONYERS                                   GA 55308768085547775029831                                                                -2000

    04/02/18         METROPCS MOBIL 04/01 #000565366 PURCHASE METROPCS MOBILE W BELLEVUE                                                             WA                                   -50.00

    04/03/18         CHECKCARD 0402 ORC*CREDIT ONE 877-8253242 NV 7541 823809205307771 7843                                                                                             -209.95

    04/09/18         CHECKCARD 0406 ANNY'S BRIDAL LOS ANGELES CA 85482988098980020443024                                                                                                -347.48

    04/10/18         QUIKTRIP             04/10 #000200000 PURCHASE 2400 SALEM RD SE CONYERS                                           GA                                                 -29.83

    04/10/18         MUNDO DEPORTIV 04/10 #000004492 PURCHASE 4316 PARK DR                                              NORCROSS             GA                                               -8.50

    04/17/18         KROGER #621             04/17 #000504858 PURCHASE 3700 SALEM RD.                                COVINGTON             GA                                                 -1.59

                    H
                _CECKCARD 0416'CAPITAL ONE AUTO 800-946-                                                5-1 2348'81073001"93849548-                                                      -600.00
                  _ _
    Total ATM and debit card subtractions                                                                                                                                          -$1,267.35
                                                                                                                                                                          continued on the next page




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                                                                          to April       38


Withdrawals and other subtractions - continued

Other subtractions
Date          Description                                                                                     Amount

03/27/18      WIRE TYPE:WIRE OUT DATE:180327 TIME:1228 ET TRN:2018032700296327 SERVICE                    -12,100.00
              REF:006989 BNF:NATIONSTAR MORTGAGE ID:4059000061933029 BNF BK:WELLS FARGO BANK,
              N.A. ID:121000248 PMT DET:72QA77HGM Account 0619330293

Total other subtractions                                                                               -$12,100.00




Service fees
Date          Transaction description                                                                         Amount

03/27/18      Wire Transfer Fee                                                                               -30.00

04/23/18       Monthly Maintenance Fee                                                                        -12.00

Total service fees                                                                                         -$42.00

Note your Ending Balance already reflects the subtraction of Service Fees,




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Bank of America
ANGELICA DENISE JACKSON I Account #011.111111 6180 I November 24, 2018 to December 21, 2018




Withdrawals and other subtractions - continued

ATM and debit card subtractions - continued
Date         Description                                                                                           Amount

12/20/18     CHECKCARD 1219 WAL-MART #2475 CONYERS             GA 55483828354400004339089                          -177.74

12/20/18     DIANA ZAPATERI 12/20 #000512370 PURCHASE 4316 PARK DRIVE          NORCROSS       GA                    -72.25

12/20/18     CHECKCARD 1220 WAL-MART #2475 CONYERS             GA                                                    -25.60

12/21/18     CHECKCARD 1220 WALMART.COM 8009666546 AR 55500368354083718716325                                      -234.79

12/21/18     CHECKCARD 1219 RACEWAY6827 968 COVINGTON               GA 15410198354978261353547                       -15.00

12/21/18     CHECKCARD 1220 CAPRICHO INC. NORCORSS            GA 55432868355200145405691                             -▪ 55.00

12/21/18     CHECKCARD 1220 BELLA VISTA II CONYERS           GA 75184128355900019700401                              -13.33

Total ATM and debit card subtractions                                                                         -$2,930.95



Other subtractions
Date         Description                                                                                            Amount

11/27/18     DSRM Natl Bank DES:PAYMENT           ID:6875832 INDN:JACKSON         CO ID:3742297048 PPD

             Nationstar Mortgage Bill Payment ,                                                                  -1,406.00

12/10/18     CAPITAL ONE    DES:ONLINE PMT ID:834439910247590 INDN:JACKSONANGELICA                 CO                -25.00
             ID:9279744991 WEB

12/11/18     GenesisFS Card DES:8669469545 ID:000001006633186 I NDN:ANGELICA JACKSON               CO                -40.00
             ID:1222528268 WEB

12/12/18     DISCOVER       DES:E-PAYMENT ID:5298 INDN:JACKSON ANGELICA           CO ID:2510020270                   -38.16
             WEB

12/14/18     CAPITAL ONE    DES:ONLINE PMT ID:834839910466700 INDNJACKSONANGELICA                  CO                -25.00
             ID:9279744991 WEB

12/17/18     TIDEWATER FIN CO DES:LOAN PYMT ID:XXXXXXXXX INDN:ANGELICA JACKSON                CO                   -100.00
             ID:4541650513 WEB

12/17/18     Credit One Bank DES:Payment     ID:0000308630096 INDN:ANGELICA JACKSON           CO                     -25.00
             ID:XXXXXXXXX WEB

Total other subtractions                                                                                      -$1,726.18




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              Case 19-54745-wlh               Doc 16        Filed 04/17/19             Entered 04/17/19 14:45:36            Desc Main
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                                                                      2018 to of 38 21, 2018


    Service fees
      Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.


                                                   Total for this period                 Total year-to-date       We refunded to you a total of
                                                                                                                  $35.00 in fees for Overdraft
      Total Overdraft fees                                $0.00                           -   $70.00              and/or NSF: Returned Items
                                                                                  ,.
                                                                                                                  this year.
      Total NSF: Returned Item fees                       $0.00                                $0.00

      To help avoid overdraft and returned item fees, you can set up:
             Customized alerts — get email or text message alerts (footnote 1) to let you know if your balance is low
             Overdraft Protection — enroll to help protect yourself from overdrafts and declined transactions
      To enroll, go to bankofamerica.com/online, call us at the number listed on this statement, or come see us at your nearest financial
      center.
      (footnote 1) Alerts received as text messages on your mobile access device may incur a charge from your mobile access service
      provider. This feature is not available on the Mobile website. Wireless carrier fees may apply.


    Date •          Transaction description                                                                                                  Amount

    12/21/18        Monthly Maintenance Fee                                                                                                   -12,00

•   Total service fees                                                                                                                      -$12.00

    Note your Ending Balance already reflects the subtraction of Service Fees.




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    Withdrawals and other subtractions - continued

    ATM and debit card subtractions - continued
    Date         Description                                                                                                   Amount

    11/01/18     NST THE HOMED 11/01 #000727901 PURCHASE 1330 DOGWOOD DRIV CONYERS                     GA                      -32.08

    11/02/18     CHECKCARD 1101 GOLDEN CORRAL 082 CONYERS              GA 05436848305300145308749                                -9.94

    11/02/18     CHECKCARD 1101 BELLA VISTA II CONYERS         GA 75184128306900014801428                                      -20.09

    11/05/18     CHECKCARD 1102 QT 798          070 COVINGTON    GA 15410198306993066198160                                      -7.20

    11/05/18     CHECKCARD 1103 MCDONALD'S F29859 COVINGTON                GA 05140488307720062261391                            -9.28

    11/05/18     CHECKCARD 1103 QT 798          070 COVINGTON    GA 15410198308993091389642                                     -10.76

    11/05/18     CHECKCARD 1103 RACEWAY6827 968 COVINGTON              GA 15410198308978261353080                               -20.00

    11/05/18     CHECKCARD 1104 AMERICAN DELI - S COVINGTON            GA 05314618309000379444448                               -20.84

    11/06/18     CHECKCARD 1105 QT 798          070 COVINGTON    GA 15410198309993125984425                                      -8.06

    11/06/18     NST THE HOME D 11/06 #000811501 PURCHASE 1330 DOGWOOD DRIV CONYERS                    GA                     -121.85

    11/06/18     CHECKCARD 1106 WAL-MART #2475 CONYERS            GA                                                            -30.86

    11/06/18     CHECKCARD 1106 WAL Wal-Mart S COVINGTON         GA                                                              -1.75
•
    11/07/18     CHECKCARD 1106 SNAPPING SHOALS E 7707863484 GA 55263528310747009450906                                       -104.00
•
    11/07/18     CHECKCARD 1106 SQU*SQ *BROWN SUG Conyers              GA 55432868310200988922871                                -8.56

    11/07/18     CHECKCARD 1107 WAL Wal-Mart S CONYERS           GA                                                              -5.30

    11/09/18     CHECKCARD 1109 METROPCS MOBIL BELLEVUE               WA                                                        -50.00

    11/13/18     CHECKCARD 1110 KROGER FUEL #1621 COVINGTON                GA 05436848314300153691738                           -15.23

    11/13/18     KROGER #621      11/10 #000501875 PURCHASE 3700 SALEM RD.          COVINGTON     GA                            -22.00

    11/13/18     CHECKCARD 1110 QT 716           070 ALPHARETTA GA 15410198315993091667212                                      -20.00

    11/13/18     CHECKCARD 1110 QT 716           070 ALPHARETTA GA 15410198315993091729954                                      -13.25

    11/13/18     CHECKCARD 1112 QT 798           070 COVINGTON    GA 15410198316993125720846                                      -9.76

    11/13/18     CHECKCARD 1112 SHELL OIL 9100236 COVINGTON            GA 55308768317547116027536                               -20.23

    11/15/18     CHECKCARD 1115 WM SUPERCENTER CONYERS                GA                                                        -32.66

    11/16/18     CHECKCARD 1116 WAL-MART #2475 CONYERS            GA                                                            -46.20

    11/19/18     CHECKCARD 1117 KROGER FUEL #1621 COVINGTON                GA 05436848321300160827268                           -25.00

    Total ATM and debit card subtractions                                                                                 -$789.96


    Other subtractions
    Date         Description                                                                                                    Amount

                 'Nationstar Mortgage Bill' Payment                                                                           -750.00

    10/31/18     PAYPAL      DES:ECHECK         ID:5RQ22AM8Q742U INDN:ANGELICA JACKSON            CO
                 ID:PAYPALEC88 WEB

    11/01/18     NATIONSTAR MORTGAGE Bill Payment                                                                              -250.00
                                                                                                               'eontiiitienn'tfeliat-;age'




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Deposits and other additions
Date         Description                                                                                                     Amount

10/25/18                    10/25 #000205883 PMNT RCVD SQC*Angelica JACK San Francisco CA                                    147.75

10/26/18     KROGER #621         10/26 #000031721 REFUND 3700 SALEM RD.       COVINGTON      GA                                 6.41

10/29/18     BKOFAMERICA ATM 10/29 #000006248 DEPOSIT CONYERS SOUTHSID CONYERS                        GA                     742.00

10/30/18     BKOFAMERICA ATM 10/30 #000006817 DEPOSIT CONYERS SOUTHSID CONYERS                        GA                     435.00

11/06/18     BKOFAMERICA ATM 11/06 #000001023 DEPOSIT CONYERS SOUTHSID CONYERS                        GA                     260.00

11/09/18     BKOFAMERICA ATM 11/09 #000002329 DEPOSIT CONYERS SOUTHSID CONYERS                        GA                     250.00

11/09/18     PAYPAL      DES:TRANSFER ID:1004224216984 INDN:ANGELICA JACKSON                     CO                            60.38
             ID:PAYPALSDW1 WEB

11/15/18     BKOFAMERICA ATM 11/15 #000004522 DEPOSIT CONYERS SOUTHSID CONYERS                         GA                    308.00

11/23/18      BKOFAMERICA ATM 11/23 #000007854 DEPOSIT CONYERS SOUTHSID CONYERS                        GA                    181.00

Total deposits and other additions                                                                                    $2,390.54




Withdrawals and other subtractions

ATM and debit card subtractions
Date          Description                                                                                                     Amount

10/25/18      NST THE HOMED 10/25 #000653701 PURCHASE 1330 DOGWOOD DRIV CONYERS                         GA                      -8.45

10/26/18      CHECKCARD 1025 GOLDEN CORRAL 082 CONYERS              GA 05436848298300146608120                                  -9.94

10/26/18      KROGER #621         10/26 #000503468 PURCHASE 3700 SALEM RD.       COVINGTON        GA                            -6.41

10/29/18      CHECKCARD 1026 IHOP #4402 CONYERS            GA 55310208300722630649089                                         -24.87

10/29/18      CHECKCARD 1026 IHOP #4402 CONYERS            GA 55310208300722630649501                                           -5.87

10/29/18      CHECKCARD 1029 GOLDEN KRUST CONY CONYERS              GA 55480778302400591000402                                -20.93

10/31/18      CHECKCARD 1029 RACEWAY6827 968 COVINGTON              GA 15410198303978261353036                                -20.10

11/01/18      CHECKCARD 1030 SHELL OIL 9100236 COVINGTON           GA 55308768304547176048393                                 -23.00

11/01/18      CHECKCARD 1031 QT 798           070 COVINGTON     GA 15410198304993022352937                                      -5.49
                                                                                                              continued on the next page




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  Withdrawals and other subtractions - continued

   ATM and debit card subtractions - continued
   Date               Description                                                                                                                         Amount

   10/17/18           CHECKCARD 1016 DAIRY QUEEN OF PE ATLANTA             GA 55506298289286061900056                                                       -6.48

   10/17/18           CHECKCARD 1017 MCDONALD'S F29 COVINGTON              GA                                                                              -12.19

   10/18/18           CHECKCARD 1016 CHICK-FIL-A #0025 ATLANTA            GA 05140488290710006263214                                                       -15.44

   10/18/18           CHECKCARD 1016 GREAT AMERICAN CO ATLANTA               GA 25247808290002899427984                                                     -9.13

   10/22/18           BARNESNOBLE       10/21 #000012802 PURCHASE 1939 Mount Zion R Morrow               GA                                                -18.36

   10/22/18           CHECKCARD 1022 MCDONALD'S F29 COVINGTON              GA                                                                              -17.96

   10/23/18           CHECKCARD 1022 QT 798          070 COVINGTON       GA 15410198296993001198764                                                         -7.95

   10/23/18           CHECKCARD 1002 SCHOLASTIC BOOK F LAKE MARY                FL 05123488295100084005081                                                 -25.00

   10/23/18           CHECKCARD 1022 MCDONALD'S F29859 COVINGTON                GA 05140488295720053301630                                                  -6.39

   Total ATM and debit card subtractions                                                                                                            -$1,642.34



   Other subtractions
   Date               Description                                                                                                                          Amount

   09/25/18           DSRM Natl Bank    DES:PAYMENT    I0:6875832 INDN:JACKSON                  CO ID:3742297048 PPD                                       -70.00

   09/27/18           SPRINT8006396111 DES:ACHBILLPAY ID:XXXXXXXXX INDN:ANGELICA JACKSON                      CO                                          -140.57
                      I0:2521616695 PPD
                                                                                                                                                         — - -----
( 09/28/18            NATIONSTAR MORTGAGE Bill Payment                                                                                                    -200.00f„)
                                                                                                                       '   •        . ,


   10/04/18           PAYPAL      DES:ECHECK        ID:5RQ22ALL7SLRJ INDN:ANGELICA JACKSON              CO                                                 '-75.00
                      ID:PAYPALEC88 WEB

   10/05/18           DISCOVER         DES:E-PAYMENT 10:5298 INDN:JACKSON ANGELICA              CO I0:2510020270                                           -46.42
                      WEB

   10/09/18           CAPITAL ONE    DES:ONLINE PMT I0:828139910223734 INDN:7973971406JACKSONANGEL CO                                                      -58.00
                      ID:9279744991 WEB

   10/09/18           DISCOVER         DES:PHONE PAY 10:5298 INDN:JACKSON ANGELICA              CO ID:6510020270 TEL                                        -3.58

   10/15/18           CAPITAL ONE    DES:ONLINE PMT I0:828839910586881 INDN:8147237617JACKSONANGEL CO                                                      -50.00
                      ID:9279744991 WEB

   10/16/18           TIDEWATER FIN CO DES:LOAN PYMT ID:XXXXXXXXX INDN:ANGELICA JACKSON                       CO                                          -100.00
                      ID:4541650513 WEB

   10/16/18           Credit One Bank DES:Payment     I0:0000295400863 INDN:ANGELICA JACKSON                  CO                                           -50.00
                      ID:XXXXXXXXX WEB

   10/22/18           CAPITAL ONE    DES:ONLINE PMT I0:829339910198099 INDN:8147237617JACKSONANGEL CO                                                      -70.00
                      I0:9279744991 WEB
                                                                                                                                                              —,
(''
''',i, 10/23/18       NATIONSTAR
                             .   MORTGAGE Bill Payment                                                                                                     480.0q
      '\,_
         10/23/18     DSRM Natl Bank DES:PAYMENT        I0:6875832 INDN:JACKSON                 CO I0:3742297048 PPD           ''         -' '' —    -    1.70.00

   Total other subtractions                                                                                                                         - $1,413.57




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                                                                               to October




Service fees
  Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.


                                              Total for this period              Total year-to-date         We refunded to you a total of
                                                                                                            $35.00 in fees for Overdraft
  Total Overdraft fees                               $0.00                            $35.00                and/or NSF: Returned Items
                                                                                                      ,
                                                                                                            this year.
  Total NSF: Returned Item fees                      $0.00                             $0.00

  To help avoid overdraft and returned item fees, you can set up:
       Customized alerts - get email or text message alerts (footnote 1) to let you know if your balance is low
       Overdraft Protection - enroll to help protect yourself from overdrafts and declined transactions
  To enroll, go to bankofamerica.com/online, call us at the number listed on this statement, or come see us at your nearest financial
  center.
  (footnote 1) Alerts received as text messages on your mobile access device may incur a charge from your mobile access service
  provider. This feature is not available on the Mobile website. Wireless carrier fees may apply.


Date          Transaction description                                                                                                    Amount

10/24/18       Monthly Maintenance Fee                                                                                                    -12.00

Total service fees                                                                                                                      -$12.00

Note your Ending Balance already reflects the subtraction of Service Fees.




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Withdrawals and other subtractions - continued

ATM and debit card subtractions - continued
Date         Description                                                                                                           Amount

08/29/18     CHECKCARD 0827 SHELL OIL 9100236 COVINGTON                    GA 55308768240547197047470                                  -6.05

08/29/18     CHECKCARD 0828 KROGER FUEL #1621 COVINGTON                     GA 05436848240300137949193                             -20.00

08/29/18     DIANA ZAPATERI 08/29 #000503680 PURCHASE 4316 PARK DRIVE                      NORCROSS         GA                    -189.25

08/30/18     CHECKCARD 0829 SQU*SQ *NANA'S CH Conyers                   GA 55432868241200044939392                                 -43.34

08/30/18     CHECKCARD 0829 SHELL OIL 5754237 CONYERS                    GA 55308768242547908046140                                -40.00

08/30/18     WAL Wal-Mart S 08/30 #000654320 PURCHASE 2475 WAL-SAMS                        CONYERS         GA                      -65.07

09/04/18     CHECKCARD 0831 KROGER FUEL #1621 COVINGTON                     GA 05436848243300152321242                             -20.00

09/04/18     QUIKTRIP         09/02 #000930220 PURCHASE 3214 HWY 278 NW                   COVINGTON        GA                      -20.27

09/04/18     MARSHALLS STON 09/03 #000525176 PURCHASE MARSHALLS STONECR LITHONIA                                 GA                -moo
09/10/18     CHECKCARD 0908 Q1770                  070 CONYERS        GA 15410198252993090800181                                   -20.34

09/10/18     CHECKCARD 0909 SNAPPING SHOALS E 7707863484 GA 55263528252747007050385                                                -98.00

09/12/18     WAL Wal-Mart         09/12 #000351518 PURCHASE 2475 WAL-SAMS                  CONYERS         GA                          -5.33

09/13/18     CHECKCARD 0912 QT 798                 070 COVINGTON       GA 15410198255993024992804                                  -20.09

09/19/18     CHECKCARD 0918 QT 770                 070 CONYERS        GA 15410198261993003249517                                   -15.02

Total ATM and debit card subtractions                                                                                        -$1,079.36



Other subtractions
Date         Description                                                                                                           Amount

09/06/18     PAYPAL       DES:INST XFER ID:PAYPAL HERE INDN:ANGELICA JACKSON                          CO                           -30.69
             ID:PAYPALS177 WEB

09/07/18     PAYPAL      DES:ECHECK               ID:5RQ22AKUZ2QTA 1NDN:ANGELICA JACKSON                                           -50.00
                                                                     ,—
             ID:PAYPALEC88 WEB

09/10/18     --katio- riStarKiio- rt
                                  —ga—ge BillAPayment"                                                                            -90o.od°)
,09/12/18    NATIONSTAR MORTGAGE Bill Payment                                         -                                           -300.09/

0942118-     DISCOVER           DES:E-PAYMENT ID:5298 INDN:JACKSON ANGELICA                     CO ID:2510020270                   -50.00
             WEB

09/14/18     Nationstar dba      DES:Mr Cooper 1D:0619330293 INDN:anglica jackson                CO ID 9200503036
             TEL                                                                            ,
        •-
09/17/18     CAPITAL ONE    DES:ONLINE PMT ID:825839910378711 INDN:7973971406JACKSONANGEL CO                                           -50.00
             ID:9279744991 WEB

09/17/18     CAPITAL ONE    DES:ONLINE PMT ID:825839910378710 INDN:8147237617JACKSONANGEL CO                                           -50.00
             ID:9279744991 WEB

09/18/18     Credit One Bank DES:Payment             ID:0000289157079 INDN:ANGELICA JACKSON                CO                          -50.00
             ID:XXXXXXXXX WEB

Total other subtractions                                                                                                      -$1,561.24




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Deposits and other additions
Date        Description                                                                                                 Amount

08/27/18    BKOFAMERICA ATM 08/27 4000005425 DEPOSIT CONYERS SOUTHSID CONYERS                  GA                       895.00

09/07/18    BKOFAMERICA ATM 09/07 #000001631 DEPOSIT CONYERS SOUTHSID CONYERS                  GA                       852.00

09/07/18    1             09/07 #000136041 PMNT RCVD SQC*Angelica JACK Sari Francisco CA                                  80.77

09/10/18    BKOFAMERICA ATM 09/10 #000003213 DEPOSIT CONYERS SOUTHSID CONYERS                  GA                       315.00

09/10/18    BKOFAMERICA ATM 09/09 4000002675 DEPOSIT CONYERS SOUTHSID CONYERS                  GA                       104.00

09/12/18    BKOFAMERICA ATM 09/12 #000003761 DEPOSIT CONYERS SOUTHSID CONYERS                  GA                         90.00

09/17/18    Fee Refund                                                                                                    35.00

09/18/18    BKOFAMERICA ATM 09/17 #000006529 DEPOSIT CONYERS SOUTHSID CONYERS                  GA                       220.00

09/18/18    BKOFAMERICA ATM 09/17 #000006532 DEPOSIT CONYERS SOUTHSID CONYERS                  GA                         14.00

09/20/18    Zelle Transfer Conf# 2f49dd270; COLLINS, KENRIC                                                             300.00

09/21/18    BKOFAMERICA ATM 09/21 #000007861 DEPOSIT CONYERS SOUTHSID CONYERS                  GA                       105.00

Total deposits and other additions                                                                               $3,010.77




Withdrawals and other subtractions

ATM and debit card subtractions
Date        Description                                                                                                  Amount

08/27/18    CHECKCARD 0824 KROGER FUEL #1621 COVINGTON             GA 05436848236300144258444                            -25.00

08/27/18    CHECKCARD 0825 METROPCS MOBILE W 888-863-8768 WA 55432868237200311077989                                     -50.00

08/28/18    CHECKCARD 0827 GOLDEN CORRAL 082 CONYERS              GA 05436848239300136895564                             -19.88

08/28/18    BJS WHOLE 1800 08/28 #000410284 PURCHASE BJS WHOLE 1800 DO CONYERS                 GA                          -7.48

08/28/18    MARSHALLS STON 08/28 11000527984 PURCHASE MARSHALLS STONECR LITHONIA                    GA                 -167.77

08/28/18    MARSHALLS STON 08/28 #000520291 PURCHASE MARSHALLS STONECR LITHONIA                     GA                 11_12.31-

08/28/18    MARSHALLS STON 08/28 #000528270 PURCHASE MARSHALLS STONECR LITHONIA                     GA                   -84.16
                                                                                                         continued on the next page




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Withdrawals and other subtractions - continued

ATM and debit card subtractions - continued
Date         Description                                                                                                Amount

08/03/18     WM SUPERCENTER 08/03 #000129843 PURCHASE Wal-Mart Super Ce CONYERS                  GA                     -37.15

08/06/18     CHECKCARD 0804 KROGER FUEL #1621 COVINGTON            GA 05436848216300140584961                           -25.09

08/06/18     STEAK-N-SHAKE# 08/04 #000050673 PURCHASE 2905 STONECREST C LITHONIA                 GA                     -31.23

08/06/18     TJMAXX #0 1590 08/05 #000608237 PURCHASE TJMAXX #0 1590 DO CONYERS                 GA                      -60.95

08/07/18     CHECKCARD 0806 KROGER FUEL #1621 COVINGTON            GA 05436848218300135752506                           -20.22

08/07/18     CHECKCARD 0806 AMERICAN DELI - S COVINGTON           GA 05314618219000409826399                            -21.90

08/08/18     CHECKCARD 0808 KRISPY KREME DOUG DECATUR             GA 25536068221101001754429                            -17.04

08/08/18     WM SUPERCENTER 08/08 #000638188 PURCHASE Wal-Mart Super Ce CONYERS                  GA                     -13.58

08/09/18     MCDONALD'S F29 08/09 #000155900 PURCHASE 2080 A CROWELL RO COVINGTON                     GA                -15.93

08/21/18     FFP 913       08/21 #000083967 PURCHASE 1795 BEAVER RUIN NORCROSS             GA                           -11.00

08/21/18     DIANA ZAPATERI 08/21 #000503130 PURCHASE 4316 PARK DRIVE           NORCROSS        GA                     -150.50

08/22/18     CHECKCARD 0821 QT 798          070 COVINGTON      GA 15410198233993001666188                                   -3.03

08/22/18     CHECKCARD 0821 GOLDEN CORRAL 082 CONYERS              GA 05436848233300136643697                               -9.94

08/22/18     PMNT SENT 0821 SQC*ALAYSIAIH CLA 4153753176 CA 55429508233740273686070                                     -15.00

08/23/18     CHECKCARD 0822 QT 798          070 COVINGTON      GA 15410198234993022260762                               -30.05

08/23/18     CHECKCARD 0822 AMERICAN DELI - S COVINGTON           GA 05314618235000414517660                            -14.96

08/24/18     CHECKCARD 0823 GOLDEN CORRAL 082 CONYERS              GA 05436848235300138374869                               -9.94

08/24/18     CHECKCARD 0823 GOLDEN CORRAL 082 CONYERS              GA 05436848235300138374943                               -4.00

Total ATM and debit card subtractions                                                                               -$833.91



Other subtractions
Date         Description                                                                                                Amount

07/30/18      PAYPAL      DES:ECHECK        ID:5RQ22AJRL9DGW INDN:ANGELICA JACKSON          CO                          -50,18
              ID:PAYPALEC88 WEB

08/02J1-8     Nationstar-Mortgage Bill Payment                                                                        -1,480.00
                                                                                                                             "
08/06/18     DISCOVER        DES:E-PAYMENT ID:5298 INDN:JACKSON ANGELICA             CO ID:2510020270                    -80.00
             WEB

08/15/18      CAPITAL ONE    DES:ONLINE PMT ID:822739910309377 INDN:8147237617JACKSONANGEL CO                          -100.00
              ID:9279744991 WEB

08/15/18      CAPITAL ONE    DES:ONLINE PMT ID:822739910309378 INDN:7973971406JACKSONANGEL CO                           -50.00
              ID:9279744991 WEB

08/16/18      Credit One Bank DES:Payment    ID:0000282422933 INDN:ANGELICA JACKSON          CO                        -100.00
              ID:XXXXXXXXX WEB

08/20/18      CAPITAL ONE AUTO DES:CARPAY        ID:006206213879854 INDN:SAJID J CLARK           CO                    -600.00')
              ID 9541719806 TEL

08/22/18      DSRM Natl Bank DES:PAYMENT         ID:6875832 INDN:JACKSON            CO ID:3742297048 PPD               -150.00

Total other subtractions                                                                                           -$2,610.18



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Bank of America
ANGELICA DENISE JACKSON I Account "..41WAI 6180 I July 25, 2018 to August 24, 2018




Deposits and other additions
Date         Description                                                                                             Amount

07/30/18     BKOFAMERICA ATM 07/30 #000002261 DEPOSIT CONYERS SOUTHSID CONYERS            GA                         390.00

08/01/18     BKOFAMERICA ATM 08/01 #000003347 DEPOSIT CONYERS SOUTHSID CONYERS            GA                      1,717.00

08/06/18     BKOFAMERICA ATM 08/06 #000006136 DEPOSIT CONYERS SOUTHSID CONYERS              GA                       100.00

08/13/18     Counter Credit                                                                                          622.31

08/20/18     BKOFAMERICA ATM 08/20 #000002731 DEPOSIT CONYERS SOUTHSID CONYERS              GA                       500.00

08/20/18     BKOFAMERICA ATM 08/20 #000002383 DEPOSIT CONYERS SOUTHSID CONYERS              GA                       156.00

08/20/18     BKOFAMERICA ATM 08/20 #000002390 DEPOSIT CONYERS SOUTHSID CONYERS              GA                         26.00

Total deposits and other additions                                                                            $3,511.31




Withdrawals and other subtractions

ATM and debit card subtractions
Date         Description                                                                                             Amount

07/25/18     CHECKCARD 0724 SQU*SQ BROWN SUG Conyers           GA 55432868205200218807932                               -8.56

07/25/18     CHECKCARD 0724 POPEYES 10658 CONYERS          GA 25536068206104018937010                                   -6.43

07/30/18     WM SUPERCENTER 07/29 #000511284 PURCHASE Wal-Mart Super Ce COVINGTON             GA                        -9.92

07/31/18     CHECKCARD 0730 DAIRY QUEEN LITHONIA        GA 55506298211200366500332                                    -16.20

07/31/18     METRO PCS        07/31 #000100390 PURCHASE 1360 DOGWOOD DRIV CONYERS        GA                           -73.13

07/31/18     MARSHALLS SION 07/31 #000217270 PURCHASE MARSHALLS STONEQR LITHONIA                 GA                   -45.52

08/01/18     WM SUPERCENTER 08/01 #000074894 PURCHASE Wal-Mart Super Ce CONYERS - GA                                  -73.46

08/01/18     OREILLY AUTO # 08/01 #000596093 PURCHASE OREILLY AUTO #1         CONYERS:   GA                           -57.76

08/01/18     OREILLY AUTO # 08/01 #000596539 PURCHASE OREILLY AUTO #1         CONYERS    GA                             -6.41

08/02/18     CHECKCARD 0731 CITGO IN'S QUICK CONYERS        GA 25415758213000063486189                                -20.00

08/03/18     CHECKCARD 0802 KROGER FUEL #1621 COVINGTON          GA 05436848214300141557711                           -25.01
                                                                                                      continued on the next page




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Withdrawals and other subtractions - continued

ATM and debit card subtractions - continued
Date          Description                                                                                                       Amount

06/20/18      CHECKCARD 0619 KROGER FUEL #1621 COVINGTON                     GA 05436848170300107042833                              -4.55

06/20/18      WAL Wal-Mart S 06/20 #000151664 PURCHASE 2475 WAL-SAMS                    CONYERS     GA                           -96.54

06/20/18      WM SUPERCENTER 06/20 #000442364 PURCHASE Wal-Mart Super Ce CONYERS                      GA                         -38.37

06/21/18      CHECKCARD 0620 KROGER FUEL #1621 COVINGTON                     GA 05436848171300107752349                          -25.00

06/22/18      CHECKCARD 0622 GOLDEN KRUST CONY CONYERS                       GA 554807781 73400592001 389                        -21.38

Total ATM and debit card subtractions                                                                                      -$1,488.98



Other subtractions
Date          Description                                                                                                        Amount

06/11/18      DISCOVER          DES:E-PAYMENT ID:5298 INDN:JACKSON ANGELICA                 CO ID:2510020270                    -100.00
              WEB

06/21/18      CAPITAL ONE    DES:PHONE PYMT ID:817139860005237 INDN:8147237617JACKSONANGEL                                      -100.00
              CO ID:9541719986 TEL

06/22/18      DSRM Natl Bank DES:PAYMENT            ID:6875832 INDNJACKSON                  CO ID:2742297048 TEL                -122.00

Total other subtractions                                                                                                     -$322.00




Service fees
Date          Transaction description                                                                                            Amount

06/22/18      Monthly Maintenance Fee                                                                                            -12.00

Total service fees                                                                                                             -$12.00

Note your Ending Balance already reflects the subtraction of Service Fees.




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Deposits and other additions
Date             Description                                                                                             Amount

06/04/18         Counter Credit                                                                                          590.00

06/04/18         BKOFAMERICA ATM 06/04 #000003809 DEPOSIT CONYERS SOUTHSID CONYERS             GA                          32.00

06/11/18         BKOFAMERICA ATM 06/11 #000006953 DEPOSIT CONYERS SOUTHSID CONYERS             GA                        775.00

06/20/18         BKOFAMERICA ATM 06/20 #000005120 DEPOSIT CONYERS SOUTHSID CONYERS             GA                      1,032.00

Total deposits and other additions                                                                                $2,429.00




Withdrawals and other subtractions

ATM and debit card subtractions
Date             Description                —                                          -                                 Amount--

06/05118—       -CHECKCARD- 0604 CAPITAL 0,1\tE AUTO 800-946-0332 TX 05123488155300200367832                            -600.00

06/06/18         CHECKCARD 0605 STATE FARM INSURA 8009566310 IL 55310208156026490861098                                   -16.4i

06/08/18         CHECKCARD 0607 SQU*SQ *BROWN SUG Conyers        GA 55432868159200297351147                               -11.77

06/11/18         NST THE HOMED 06/11 #000527901 PURCHASE 1330 DOGWOOD DRIV CONYERS              GA                      -126.93

06/12/18         CHECKCARD 0611 KROGER FUEL.#1621 COVINGTON        GA 05436848162300103788561                             -50.00

06/13/18         CHECKCARD 0612 QT 802      070 CONYERS      GA 15410198163993005203131                                     -6.67

06/13/18         CHECKCARD 0612 5759 Dominos Pizz COVINGTON     GA 05436848164000259422100                                -33.13

06/13/18         MARSHALLS STON 06/13 #000422607 PURCHASE MARSHALLS STONECR LITHONIA                GA                    -81.78

06/13/18         MARSHALLS STON 06/13 #000518794 PURCHASE MARSHALLS STONECR LITHONIA                GA                    -46.81

06/13/18         MARSHALLS STON 06/13 #000525177 PURCHASE MARSHALLS STONECR LITHONIA                GA                    -28.02
           _
06/15/18         CHECKCARD 0614 ORC*CREDIT ONE 877-8253242 NV 75418238165056292281125                                   -209.95

06/18/18         WM SUPERCENTER 06/17 #000303073 PURCHASE Wal-Mart Super Ce COVINGTON          GA                         -10.57

06/19/18         MARSHALLS STON 06/19 #000513176 PURCHASE MARSHALLS STONECR LITHONIA                GA                    -15.00

06/19/18         WAL-MART #2475 06/19 #000186800 PURCHASE 1436 DOGWOOD DRIV CONYERS             GA                        -66.04
                                                                                                          continued on the next page




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Deposits and other additions
Date          Description                                                                                              Amount

06/25/18      BKOFAMERICA ATM 06/25 #000004085 DEPOSIT CONYERS SOUTHSID CONYERS               GA                       976.00

07/09/18      BKOFAMERICA ATM 07/09 #000001804 DEPOSIT CONYERS SOUTHSID CONYERS               GA                     1,061.00

07/12/18      BKOFAMERICA ATM 07/12 #000003073 DEPOSIT CONYERS SOUTHSID CONYERS               GA                       908.18

07/12/18      GA TLR transfer                                                                                          780.00

07/23/18      BKOFAMERICA ATM 07/23 #000007990 DEPOSIT CONYERS SOUTHSID CONYERS                   GA                   160.00

Total deposits and other additions                                                                              $3,885.18



Withdrawals and other subtractions

ATM and debit card subtractions
Date          Description                                                                                              Amount

06/25/18      CHECKCARD 0622 KROGER FUEL #1621 COVINGTON             GA 05436848173300112005541                         -20,00

06/25/18      CHECKCARD 0622 BELLA VISTA II CONYERS           GA 75184128175900011700621                                  -8.47

06/25/18      CHECKCARD 0623 KROGER FUEL #1621 COVINGTON             GA 05436848174300105574593                         -26.00

06/26/18      CHECKCARD 0625 KROGER FUEL #1621 COVINGTON             GA 05436848176300104188278                         -20.00

06/27/18      CHECKCARD 0626 KROGER FUEL #1621 COVINGTON             GA 05436848177300105462705                         -2000

07/02/18      CHECKCARD 0629 KROGER FUEL #1621 COVINGTON             GA 05436848180300117005794                         -20.01

07/06/18      CHECKCARD 0705 BELLA VISTA II CONYERS           GA 75184128187900013001024                                  -6.13

07/10/18      CHECKCARD 0709 METROPCS MOBILE W 888-863-8768 WA 55432868190200249304526                                  -50.00

07/10/18      KROGER #621       07/10 #000500731 PURCHASE 3700 SALEM RD.         COVINGTON   GA                         -41.03

07/10/18      WAL-MART #2475 07/10#000261900 PURCHASE 1436 DOGWOOD DRIV CONYERS                    GA                 -160.49

07/10/18      KROGER #621       07/10 #000504582 PURCHASE 3700 SALEM RD.         COVINGTON   GA                         -12.83

07/11/18      CHECKCARD 0710 SEA MIST RESORT MYRTLE BEACH SC 55500808192750007262978                                  -289.85

07/11/18      WM SUPERCENTER 07/11 #000202756 PURCHASE Wal-Mart Super Ce CONYERS              GA                        -82.56
                                                                                                        continued on the next page




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    Withdrawals and other subtractions - continued

     ATM and debit card subtractions - continued
    Date         Description                                                                                            Amount

    07/11/18     KROGER #621    07/11 #000502971 PURCHASE 3700 SALEM RD.    COVINGTON     GA                              -7.51

    07/12/18     WM SUPERCENTER 07/12 #000773382 PURCHASE Wal-Mart Super Ce CONYERS        GA                         -536.00

    07/12/18     KROGER #621    07/12 #000007632 PURCHASE 3700 SALEM RD.    COVINGTON     GA                            -48.21

     07/13/18    CHECKCARD 0712 SQU*SQ *BROWN SUG Conyers       GA 55432868193200823419879                              -23.54

     07/13/18    WAL Wal-Mart S 07/13 #000379469 PURCHASE 4558 WAL-SAMS       COVINGTON   GA                          -134.21

     07/13/18    MCDONALD'S F29 07/13 #000610000 PURCHASE 2080 A CROWELL RO COVINGTON           GA                      -33.19

     07/16/18    CHECKCARD 0713 KROGER FUEL #1621 COVINGTON      GA 05436848194300147761055                             -14.39

     07/16/18    CHECKCARD 0713 SHELL OIL 5754436 NORTH AUGUSTASC 55308768195547281002667                               -35.63

     07/16/18    CHECKCARD 0713 SHELL OIL 5754436 NORTH AUGUSTASC 55308768195547288002652                               -15.11

     07/16/18     CHECKCARD 0713 SEA MIST RESORT MYRTLE BEACH SC 55500808195750007276132                               -367.32

     07/16/18     CHECKCARD 0714 DINO'S PIZZARIA 84 MYRTLE BEACH SC 55310208195091903000422                              -43.21

     07/16/18     CHECKCARD 0714 KRISPY KREME #545 MYRTLE BEACH SC 25536068196105008875377                               -34.47

     07/16/18     PACIFIC BEACHW 07/14 #000115015 PURCHASE PACIFIC BEACHWEAR MYRTLE BEACH SC                           -117.59

     07/16/18     PACIFIC BEACHW 07/14 #000133118 PURCHASE PACIFIC BEACHWEAR MYRTLE BEACH SC                             -62.08

     07/16/18     CHECKCARD 0714 5666 Dominos Pizz MYRTLE BEACH SC 05436848196100078959225                               -52.97

     07/16/18     CHECKCARD 0715 KRISPY KREME #545 MYRTLE BEACH SC 25536068197105005514010                               -26.71

     07/16/18     DOLLAR-GENERAL 07/15 #000000989 PURCHASE 1380 3RD AVE S      MYRTLE BEACH SC                           -24.50

     07/16/18     CHECKCARD 0715 KFC H667023 MYRTLE BEACH SC 55310208197400238000205                                     -50.13

     07/16/18     CHECKCARD 0715 KROGER FUEL #1016 MYRTLE BEACH SC 05436848196300141626450                               -39.31

     07/16/18     CHECKCARD 0715 CIRCLE K 05144 COLUMBIA     SC 55432868197200439343931                                  -23.72

     07/18/18     CHECKCARD 0717 4209 AMC CROSSROA CONYERS       GA 55310208199018703824053                              -20.10

     07/18/18     CHECKCARD 0717 CAPITAL ONE AUTO 800-946-0332 TX 05123488198300238189306                              -100.00

     07/24/18     CHECKCARD 0723 KROGER FUEL #1621 COVINGTON     GA 05436848204300138283943                              -30.00

     Total ATM and debit card subtractions                                                                       -$2,597.27



     Other subtractions
     Date         Description

          —
"------06/2       Nationstar-MoiigsEaill,Payment_                                                                    -1,480.01.)
                                                                                                       .u.S-L.


     07/10/18     DISCOVER      DES:E-PAYMENT ID:5298 INDN:JACKSON ANGELICA      CO ):251002O20                        -100.00
                  WEB

     07/16/18     CAPITAL ONE    DES:ONLINE PMT ID:819739910555813 INDN:8147237617JACKSONANGEL CO                      -100.00
                  ID:9279744991 WEB
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Service fees
Date          Transaction description                                                                        Amount

05/23/18      Monthly Maintenance Fee                                                                         -12.00

Total service fees                                                                                          -$12.00

Note your Ending Balance already reflects the subtraction of Service Fees.




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 ANGELICA DENISE JACKSON I Account 0111111110110‘6180 I April 24, 2018 to May 23, 2018




 Deposits and other additions
 Date         Description                                                                                       Amount

 05/14/18     Counter Credit                                                                                  1,600.00

 05/14/18     Zelle Transfer Conf# 1c683470b; COLLINS, KENRIC                                                    26.75

 05/15/18     BKOFAMERICA ATM 05/15 #000003254 DEPOSIT CONYERS SOUTHSID CONYERS               GA                265.00

 Total deposits and other additions                                                                         $1,891.75




 Withdrawals and other subtractions

 ATM and debit card subtractions

 Date         Description                                                                                       Amount

 05/16/18      CHECKCARD 051 5 ORC*CREDIT ONE 877-8253242 NV 75418238135054967213041                            -209.95

 05/18/18      KROGER #621     05/18 #000505779 PURCHASE 3700 SALEM RD.          COVINGTON   GA                  -76.84

 05/21/18      CHECKCARD 0518 KROGER FUEL #1621 COVINGTON            GA 05436848138300108232814                  -20.00

 05/21/18      CHECKCARD 0519 SNAPPING SHOALS E 7707863484 GA 55263528139747002164446                            -91.00

 Total ATM and debit card subtractions                                                                       -$397.79



  Other subtractions
 Date          Description                                                                                       Amount

r 05/16/18     NATIONSTAR MORTGAGE Bill Payment                                                               -1,480.00

  Total other subtractions                                                                                 -51,480.00




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Bank of America
ANGELICA DENISE JACKSON    I    Account # 41111111~6180 I   November 23, 2017 to December 21, 2017




Deposits and other additions
Date         Description                                                                                                  Amount

11/27/17     BKOFAMERICA ATM 11/25 #000002342 DEPOSIT CONYERS SOUTHSID CONYERS                       GA                   119.00

11/28/17     BKOFAMERICA ATM 11/28 #000003581 DEPOSIT CONYERS SOUTHSID CONYERS                       GA                   451.00

12/05/17     BKOFAMERICA ATM 12/05 #000007242 DEPOSIT CONYERS SOUTHSID CONYERS                       GA                   220.00

12/13/17     BKOFAMERICA ATM 12/13 #000001880 DEPOSIT CONYERS SOUTHSID CONYERS                       GA                   387.00

Total deposits and other additions                                                                                 $1,177.00




Withdrawals and other subtractions

ATM and debit card subtractions
Date         Description                                                                                                  Amount

11/27/17     PAYPAL *GOOLSB 11/25 #000688128 PURCHASE 2211 North First San Jose                CA                        -150.00

                 CKCARD- 1128 'CAPITAL- 0NExtifo-g60:946-0332.        Tx 0512- 34g73323001KS56721—                       -6-00.0
                                                                                                                                 -
  /29/17     CHECKCARD 1128 QT 821            070 COVINGTON      GA 15410197333993012607297                                -15.03

11/29/17     CHECKCARD 1128 QT 821            070 COVINGTON      GA 15410197333993012538740                                -20.16

11/30/17     CHECKCARD 1129 KROGER FUEL #1621 COVINGTON               GA 05436847333300099093642                           -30.00

12/05/17     CHECKCARD 1204 KROGER FUEL #1621 COVINGTON               GA 05436847338300094305103                           -20.00

12/07/17     KROGER            12/07#000501627 PURCHASE 3700 SALEM RD.          COVINGTON      GA                          -20.01

12/08/17     CHECKCARD 1208 CHEVRON 0203491 COVINGTON                GA 55432867342200067039542                            -10.00

12/08/17     BJS WHOLE 1800 12/08 #000529289 PURCHASE BJS WHOLE 1800 DO CONYERS                      GA                    -12.01

12/08/17     WAL-MART #2475 12/08 #000719500 PURCHASE 1436 DOGWOOD DRIV CONYERS                       GA                   -49.95

12/08/17     ADVANCE AUTO P 12/08#000846421 PURCHASE 2021 FLAT SHOALS CONYERS                        GA                    -17.11

12/12/17     CHECKCARD 1211 QT 707            070 DORAVILLE      GA 15410197345993120324773                                -20.00

12/13/17     PAYPAL *GOOLSB 12/13 #000027555 PURCHASE 2211 North First San Jose                CA                        -150.00

12/14/17     CHECKCARD 1213 CHEVRON 0203491 COVINGTON                GA 55432867347200122003207                            -10.01
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Withdrawals and other subtractions - continued

ATM and debit card subtractions - continued

Date          Description                                                                                                                 Amount

12/14/17      PAYPAL *GOOLSB 12/14 #000297464 PURCHASE 2211 North First San Jose                  CA                                     -160.00

12/14/17      KROGER         12/14 #000504977 PURCHASE 3700 SALEM RD.             COVINGTON           GA                                  -21.74

12/18/17      MCDONALD'S F29 12/16 #000313000 PURCHASE 2080 A CROWELL RO COVINGTON                          GA                            -21.52

12/19/17      SCANA Energy      12/19 #000291021 PURCHASE SCANA Energy/Bill Columbia             SC                                       -63.50

12/19/17      WAL Wal-Mart S 12/19 #000286212 PURCHASE 2475 WAL-SAMS                  CONYERS          GA                                 -27.21

Total ATM and debit card subtractions                                                                                            -$1,418.25




Service fees
   Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.


                                            - Total for this period              Total year-to-date

   Total Overdraft fees                              $0.00                            $70.00

   Total NSF: Returned Item fees                     $0.00                             $0.00

   To help avoid overdraft and returned item fees, you can set up:
       Customized alerts - get email or text message alerts (footnote 1) to let you know if your balance is low
       Overdraft Protection - enroll to help protect yourself from overdrafts and declined transactions
   To enroll, go to bankofamerica.com/online, call us at the number listed on this statement, or come see us at your nearest financial
   center.
   (footnote 1) Alerts received as text messages on your mobile access device may incur a charge from your mobile access service
   provider. This feature is not available on the Mobile website. Wireless carrier fees may apply.


Date          Transaction description                                                                                                     Amount

12/21/17       Monthly Maintenance Fee                                                                                                     -12.00

Total service fees                                                                                                                       -$12.00

Note your Ending Balance already reflects the subtraction of Service Fees.




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Withdrawals and other subtractions                                 continued


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'T-otaLother subtractions




Service fees
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 Total service fees                                                                                 • S4200

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                                                                          to February 21, 2018




Withdrawals and other subtractions - continued

ATM and debit card subtractions - continued
Date          Description                                                                                                    Amount

02/06/18      CHECKCARD 0205 MCDONALD'S F29859 COVINGTON                     GA 05140488036720048887044                          -8.65

02/06/18      CHECKCARD 0205 2 ANGELITOS 562-469-5055 CA 55432868037200497176201                                             -112.35

02/07/18      CHECKCARD 0206 CHURCH'S #922 COVINGTON                 GA 25536068038104024145479                                  -9.29

02/07/18      CHECKCARD 0206 CHURCH'S #922 COVINGTON                 GA 25536068038104024145487                                  -2.13

02/07/18      CHECKCARD 0206 QT 821             070 COVINGTON        GA 15410198038993010266811                               -15.00

02/07/18      SCANA Energy      02/07 #000034042 PURCHASE SCANA Energy/Bill Columbia             SC                          -387.50

02/07/18      CHEVRON/CROWEL 02/07 #000236521 PURCHASE CHEVRON/CROWELL R COVINGTON                          GA                -20.00

02/08/18      WM SUPERCENTER 02/08 #000472646 PURCHASE Wal-Mart Super Ce CONYERS                       GA                     -21.25

02/09/18      CHECKCARD 0207 American Deli (CO CONYERS               GA 85180898039980167685245                               -16.56

02/12/18      CHECKCARD 0209 DIANA ZAPATERIA G 770-638-8806 GA 55432868041200201799516                                       -273.00

02/12/18      CHECKCARD 0209 NEWTON CO RECREAT COVINGTON                     GA 25457338041009405719502                       -42.50

02/12/18      WM SUPERCENTER 02/10 #000253295 PURCHASE Wal-Mart Super Ce CONYERS                       GA                     -60.49

02/12/18      CHECKCARD 0210 CHEVRON 0203491 COVINGTON                  GA 55432868042200395460767                            -20.01

02/13/18      CHECKCARD 0212 5759 Dominos Pizz COVINGTON                GA 05436848044000265382641                            -19.23

02/13/18      WM SUPERCENTER 02/13 #000634790 PURCHASE Wal-Mart Super Ce CONYERS                       GA                     -31.73

02/15/18      CHECKCARD 0213 FFP 913 NORCROSS               GA 05140488045120004158945                                        -20.26

02/15/18      WAL Wal-Mart S 02/15 #000347892 PURCHASE 2475 WAL-SAMS                   CONYERS        GA                      -27.62

02/20/18      WM SUPERCENTER 02/18 #000648193 PURCHASE Wal-Mart Super Ce CONYERS                       GA                     -26.31

02/21/18      CHECKCARD 0220 CHOU LEE'S LITHONIA               GA 12301368052122600288360                                     -46.60

Total ATM and debit card subtractions                                                                                  -$2,403.83




Service fees
Date          Transaction description                                                                                         Amount

02/21/18      Monthly Maintenance Fee                                                                                         -12.00

Total service fees                                                                                                         -$12.00
Note your Ending Balance already reflects the subtraction of Service Fees.




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                                                                                               Your checking account
 Bank of America
 ANGELICA DENISE JACKSON I    Account #11111161.1111. 6180 I January 25,2018 to February 21, 2018




 Deposits and other additions
 Date          Description                                                                                                                  Amount

 02/05/18      BKOFAMERICA ATM 02/03 #000068479 DEPOSIT CONYERS SOUTHSID                 CONYERS         GA                              1,107.00

 02/08/18      BKOFAMERICA ATM 02/08 #000004403 DEPOSIT CONYERS SOUTHSID CONYERS                         GA                                 353.00

 02/13/18      BKOFAMERICA ATM '02/13 #000004333 DEPOSIT CONYERS SOUTHSID                CONYERS         GA                                 122.00

 02/20/18      BKOFAMERICA ATM 02/20 #000007855 DEPOSIT CONYERS SOUTHSID                 CONYERS         GA                              1,040.00

 Total deposits and other additions                                                                                                  $2,622.00




  Withdrawals and other subtractions

  ATM and debit card subtractions
  Date         Description                                                                                                                  Amount

  01/25/18     CHECKCARD 0124 METROPCS MOBILE W 888-863-8768 WA 55432868024200379028723                                                      -50.00

  01/29/18     CHECKCARD 0126 KROGER FUEL #1621 COVINGTON              GA 05436848026300098426645                                            -35.00

  01/29/18     CHECKCARD 0128 BELLA VISTA II CONYERS           GA 7518412802990001 5300673                                                   -20.55

  01/31/18     CHECKCARD 0130 QT 802          070 CONYERS        GA 15410198030993003546441                                                  -15.00

  02/01/18     CHECKCARD 0130 SHANES RIB SHACK COVINGTON              GA 25247808031005968091510                                             -19.75

  02/01/18     CHECKCARD 0131 MONTERO DANES! 562-244-1123 GA 55432868032200576930325                                                         -99.00

  02/01/18     CHECKCARD 0131 DIANA ZAPATER IA G 770-638-8806 GA 55432868032200573482791                                                   -114.00

  02/01/18     OFFICE DE 1410 02/01 #000718529 PURCHASE OFFICE DE 1410 DO CONYERS                    GA                                      -44.92

  02/02/18     CHECKCARD 0201 KROGER FUEL #1621 COVINGTON               GA 05436848032300101432434                                           -20.07

  02/02/18     QUIKTRIP      02/02 #000711400 PURCHASE 3214 HWY 278 NW              COVINGTON       GA                                       -20.00

  02/05/18     WAL-MART #2475 02/05 #000959600 PURCHASE 1436 DOGWOOD DRIV CONYERS                        ''GA                                -29.43

  02/05/18     CHEVRON/CROWEL 02/05 #000626592 PURCHASE CHEVRON/CROWELL R COVINGTON                             GA                           -20.00

  02/06/18     CHECKCARD 0205 ORC*CREDIT ONE 877-8253242 NV 75418238036050552473891                                                         -155.63
                                                                                                                                                   „
  02/06/18-    CHECKCARD 0205 CAPITAL ONE A1110-800, 946-0332.TX- 051-23488036300163439615                                                  -600.00
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                             Thank you for choosing Bank of America.


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                               UNITED STATES BANKRUPTCY COURT

                                    NORTHERN DISTRICT OF GEORGIA .

                                             ATLANTA DIVISION


IN RE:                             cAA,ZK: )         Case No:     \01-54 -itAskk0 \-1
                                                     Chapter



               Debtor(s)•

                                             CERTIFICATE OF SERVICE .



  I, the undersigned, hereby certify under penalty of perjury that I am, and at all times hereinafter
mentioned, was more than 18 year of age, and that on the n day of        I , 204 I served a copy of
          L    Nc-0                                               %0\                            )kS

which was filed in this bankruptcy matter on the    1) day of



Mode of service (check one):                 *MAILED                  0    HAND DELIVERED

Name and Address of each party served (If necessary, you may attach a list.):

                   -ACA\r\                     •                \L•             1- •?       E      L,


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I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRE

Dated:                                               Signature:

                                                     Printed Name:-                     I: (14

                                                     Address: ,:al p          M.e ad 0 , 0 6/0-6. k             CA;


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                                                     Phone:

(Generic Certificate of Service — Revised 4/13)
